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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 15-cv-00302-PAB-MJW

  YSIDRO LONGORIA,

  Plaintiff(s),

  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and as
  an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA, and
  C.O. CHIEF JOHN DOE 1, in his individual capacity and as an employee of CCA,

  Defendant(s).

                  ORDER SETTING SCHEDULING/PLANNING CONFERENCE

  Entered by U.S. Magistrate Judge Michael J. Watanabe

        The above-captioned case has been referred to Magistrate Judge Michael J.
  Watanabe pursuant to the Order Referring Case, entered by Judge Philip A. Brimmer
  on February 20, 2015 (Docket No. 6).

          IT IS HEREBY ORDERED that plaintiff shall FORTHWITH serve the defendants.

        IT IS FURTHER ORDERED that a Scheduling/Planning Conference pursuant to
  Fed. R. Civ. P. 16(b) shall be held on:


                               April 27, 2015, at 10:00 a.m.
                                  in Courtroom A-502,
                                        Fifth Floor,
                            Alfred A. Arraj U.S. Courthouse,
                                      901 19th Street,
                                 Denver, Colorado 80294
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         If this date is not convenient for any counsel/pro se party, he/she should confer
  with opposing counsel/pro se party and file a motion to reschedule the conference to a
  more convenient date.

        Absent exceptional circumstances, no request for rescheduling any
  appearance in this court will be entertained unless a motion is filed no less than
  FIVE (5) business days in advance of the date of appearance.

       THE PLAINTIFF SHALL NOTIFY ALL PARTIES WHO HAVE NOT ENTERED
  AN APPEARANCE OF THE DATE AND TIME OF THE SCHEDULING/PLANNING
  CONFERENCE.

          IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a
  pre-scheduling conference meeting and prepare a proposed Scheduling Order in
  accordance with Fed. R. Civ. P. 26(f) and D.C.COLO.LCivR 16.1 and 26.1(a) on or
  before 21 days prior to scheduling conference. Pursuant to Fed. R. Civ. P. 26(d) no
  discovery shall be sought until after the pre-scheduling conference meeting. No later
  than five (5) business days prior to the Scheduling/Planning Conference, counsel/pro se
  parties shall file their proposed Scheduling Order (in PDF) in compliance with the ECF
  Filing Procedures. In addition, on or before fourteen (14) days after the pre-scheduling
  conference meeting, the parties shall comply with the mandatory disclosure
  requirements of Fed. R. Civ. P. 26(a)(1).

         Counsel/pro se parties shall prepare the proposed Scheduling Order as provided
  in D.C.COLO.LCivR 16.1 in accordance with the form and instructions which may be
  found through the links in D.C.COLO.LCivR 16.2 and 26.1(a). Parties who are
  unrepresented and do not have access to the internet may visit the Clerk’s Office in
  Alfred A. Arraj U.S. Courthouse, 901 19th Street, Room A-105, Denver, Colorado.
  (The Clerk’s Office telephone number is (303) 844-3433.) Scheduling Orders prepared
  by parties not represented by counsel, or without access to ECF, shall be submitted on
  paper.

       All out-of-state counsel shall comply with D.C.COLO.LAttyR 3(a) prior to the
  Scheduling/Planning Conference.

         It is the responsibility of counsel to notice the court of their entry of appearance,
  notice of withdrawal, or notice of change of counsel’s address, e-mail address, or
  telephone number by complying with the ECF Procedures and filing the appropriate
  motion or document with the court.

          Please remember that everyone seeking entry into the Alfred A. Arraj United
  States Courthouse will be required to show valid photo identification and be subject to
  security procedures. See D.C.COLO.LCivR 83.2. Failure to comply with the
  identification requirement and security procedures will result in denial of entry into the
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  Alfred A. Arraj United States Courthouse.

               DONE AND SIGNED THIS DAY 20th OF FEBRUARY, 2015.

                                          BY THE COURT:

                                          s/Michael J. Watanabe
                                          _____________________________
                                          MICHAEL J. WATANABE
                                          United States Magistrate Judge
